Case ?:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page 1of11 Page ID #:52

Electronically FILED by Silperior Coun of California, County of Los Angeles cn eee ee eTCVataOo R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk

Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Mel Red Recana

+

Aryeh Kaufman, Esq. (SBN 289745)
LAW OFFICE OF ARYEH KAUFMAN
5482 Wilshire Boulevard, #1907

Los Angeles, CA 90036

Tel: (823) 943-2566

Fax: (213) 402-8598
Email: aryeh@akaufmanlegal.com

Attorney for Plaintiff,
VIRGIN SCENT, INC. dba
ART NATURALS

oo we 4 DD Oo & BW PD

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES - CENTRAL

et
re ©

VIRGIN SCENT, INC. dba ART Case No. 2msTenyr4a4acog
NATURALS, a California corporation,

bo

COMPLAINT FOR:

anak
Qo

Plaintiff,
1. BREACH OF WRITTEN

v CONTRACT;

. BREACH OF ORAL CONTRACT;
FALSE PROMISE; and

4. CONSPIRACY

Poe
om
bo

BT SUPPLIES WEST, INC., a Nevada
corporation; STEVEN ODZER, an
individual; LIFEGUARD LICENSING
CORP., a Delaware corporation; RUBEN
AZRAK, an individual; MICHAEL
STIENHARDT, an individual; SAMMY
COHEN, an individual, LORI
KAUFMAN, an individual; and DOES 1 to

10, inclusive,

jet
om

Rob et
o> oOo mo ~~]

JURY TRIAL DEMANDED

bo
re

Defendants.

bo
bo

be
qo

po bp bk
oc ct

Nw ofS
oO --~l

1
COMPLAINT

Case

Oo C6 HN hf oF Fe Be BB

hw bd bo bo bw WO WO ORDO
BS 8&8 & &£ S&S Sw 2 5 Ce DU GFA DERE CS

2.21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page 2of11 Page ID #:53

COMES NOV, plaintiff VIRGIN SCENT, INC., d/b/a ART NATURALS, a
California corporation, and for causes of action against Defendants BT SUPPLIES
WEST, INC., a Nevada corporation, STEVEN ODZER, an individual, LIFEGUARD
LICENSING CORP, a Delaware corporation, RUBEN AZRAK, an_ individual,
MICHAEL STIENHARDT, an individual, SAMMY COHEN, an individual, LORI
KAUFMAN, an individual, and DOES 1 to 10, alleges as follows:

PARTIES

]. Plaintiff Art Naturals (referred to in this Complaint as either “Art
Naturals” or “Plaintiff’) is a California corporation with its principal place of business
in the County of Los Angeles, California.

2, Plaintiff is informed and believes, and based thereon alleges, Defendant
BT Supplies West, Inc. (“BT”) is a Nevada corporation with its principal place of
business in Las Vegas, Nevada.

3. Plaintiff is informed and believes, and based thereon alleges, Defendant
Steven Odzer (“Odzer”) is a resident of Las Vegas, Nevada, and an owner of BT.

4, Plaintiff is informed and believes, and based thereon alleges, Defendant
Lifeguard Licensing Corp. (“Lifeguard Corp.”) is a Delaware corporation with its
principal place of business at 595 Madison Avenue, New York, NY 10022.

5. Upon information and belief, Defendant Ruben Azrak (“Azrak’) is a
resident of New York, NY, and an owner of Lifeguard Corp and BT.

6. Upon information and belief, Defendant Michael Stienhardt (“Steinhardt”)
is an owner of BT.

7. Plaintiff is informed and believes, and based thereon alleges, Defendant
Sammy Cohen (“Cohen”) is Director of Global Sourcing at BT and Azrak’s company
Lifeguard Corp.

8. Upon information and belief, Defendant Lori Kaufman (“Kaufman”) is one
of BT, Odzer, Lifeguard Corp., and Azrak’s distributors who made the sales to the State
of New York.

2

COMPLAINT

Case 2:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page 3o0f11 Page ID #54

peed,

9. Art Naturals is informed and believes that DOES 1 to 10 are the alter egos
of BT and are liable for its acts and omissions as recognition of the privilege of separate

existence would promote injustice in that, on information and belief, at all relevant

times, DOES 1 to 10 G) were members of BT, (ii) were officers and directors of BT, and/or
(iii) dominated and controlled BT by using it as a mere shell, instrumentality, or conduit
for their own personal benefit.

10. Art Naturals does not know the true names and capacities of defendants

sued herein as DOES 1 through 10, and therefore sues such defendants by fictitious

mo rT YN TD oO ee } bh

names. Art Naturals will amend the complaint to allege their true names and capacities

once they have been ascertained. Art Naturals is informed and believes and thereon

be
So

alleges that each of the fictitiously named defendants is responsible in some manner for

—
—

the acts, occurrences, damages, and liabilities hereinafter alleged, and caused and/or

ae
nN

contributed to the various injuries and damages alleged in this complaint.

JURISDICTION AND VENUE

— et
hm 09

11. The Court has personal jurisdiction over Defendants BT, Odzer, Lifeguard

_
a

Corp., Azrak, Stienhardt, Cohen, Kaufman, and Does 1 to 10 (collectively referred to

_
oO

throughout this Complaint as “Defendants”) because Defendants do business with the

ee
~]

State of California, and knew during all relevant times herein that Art Naturals is a

ak
oe

California corporation doing business in the State of California.

e
wo

12. Venue is proper in this County in accordance with Section 395(a) of the

bo
Oo

California Code of Civil Procedure because the injuries alleged herein occurred in this

bh
tt

County. In the alternative, venue is appropriate in this County in accordance with

ho
nw

Section 395(a) and Section 395.5 of the California Code of Civil Procedure because

to
ao

Defendant and Plaintiff contracted to perform their obligations in this County, and

bo
ee

because the liability, obligation, and breach occurred within this County,

GENERAL ALLEGATIONS

bo
ot

bo
oO

13. Art Naturals is a lifestyle brand that has seen rapid and expansive growth

bh
~I

in the beauty and skin care industry since the company’s inception in February 2015.

bo
ce

3
COMPLAINT

Case ?:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page 4of11 Page ID #:55

oS fof tN Hh oO Fe BS Fe

BS mw pe po bo Bo Bo NO OWN ERR ee OSE REF EOE
oOo 4 fo FF we Ph hlCOCOlUlUDOULULlUCOUCUCUNMCUCODlUCUClUlCUDeDlLlUCUMLPNUlULrL ll

The company’s products are sold throughout the world, and Art Naturals has
differentiated itself with its premium products, its product assortment, and its ability
to move quickly into new markets.

14. In the beginning of March 2020, as the novel Coronavirus spread to the
United States, Art Naturals began selling hand sanitizers and face masks, leveraging
its network of local and international suppliers to bring these much needed products to
market when others were unable to do so.

15. Art Naturals’ Chief Sales Officer, Michael Elefant, was introduced to BT
and Odzer towards the end of March.

16. The relationship started great. BT and Odzer made a large order of Art
Naturals’ branded hand sanitizer and made a couple of large orders of 3-ply disposable
face masks. The relationship deteriorated when BT and Odzer started falling behind

on payments for the large orders they made from Art Naturals.

The Hand Sanitizer Order

17. On March 19, 2020, Defendant BT submitted a Purchase Order to Art
Naturals for 5,000,000 units of hand sanitizer at a price of $2.40 per unit.

18. The total purchase order value was $12,000,000 (5,000,000 times $2.40).

19. Art Naturals invoiced BT for 5,000,000 units of hand sanitizer and
thereafter had the 5,000,000 units manufactured and shipped to the United States,

20. Once Art Naturals received the 5,000,000 units of hand sanitizer, Art
Naturals started shipping containers holding 70,000 units each of hand sanitizer to BT.

21, Between April 26, 2020, and April 28, 2020, BT received 670,000 units of
hand sanitizer from Art Naturals.

22. Between May 14, 2020, and June 8, 2020, BT received 490,000 units of
hand sanitizer from Art Naturals.

23. Art Naturals is informed and believes, and based thereon alleges, that
Defendants, and each of them, sold all the hand sanitizer they received from Art
Naturals to various customers, including, but not limited to, the State of New York.

4

COMPLAINT

Case ?:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page5of11 Page ID #:56

oOo wm xn oe oO fF DO YN

Bo pO bo bo Bo Bo BO ODD ORO er LE
eo 4 GO oo fF wo NP FF Oo DB ONY oO oO he wD Sl LUO

24, Upon information and belief, Lori Kaufman was the distributor that sold
the Art Naturals hand sanitizer to the State of New York.

25.  Todate, Defendants, and each of them, have failed to pay Art Naturals the
sum of One Million Four Hundred Twenty-Two Thousand and Six Hundred Dollars
($1,422,600) from the units Defendants have received and sold of the Art Naturals hand
sanitizer.

26. Defendants, and each of them, have also failed to pay for the remaining
3,840,000 units of hand sanitizer BT ordered.

27. On multiple oecasions in May, June, July, and August, Defendants,
threugh BT and Odzer, stated by phone and text that they were going to take the hand
sanitizers as they agreed to, but just needed “more time.” Defendants, through BT and
Odzer, also stated on numerous occasions they would send payment for the balance owed
to Art Naturals.

28. IfBT and Odzer did not repeatedly state that Defendants were going to
take the hand sanitizers and pay for the remaining 3,840,000 units of hand sanitizer,
Art Naturals would have sold the units to a different customer.

29. Art Naturals, is informed and believes, and based thereon alleges, that the
Defendants, and each of them, never intended to fulfill their end of the bargain and take
all 5,000,000 units of hand sanitizer they ordered from Art Naturals when they
submitted the Purchase Order to Art Naturals.

30. Even as recently as June 25, 2020, Rhonda Gooding, Odzer’s executive
assistant, emailed Michael Elefant requesting 15 invoices representing 15 containers of
70,000 units each of hand sanitizer received by BT. In the June 25, 2020 email, Ms.
Gooding claims that payment for these invoices would be made “on Tuesday,”

3l. However, Defendants have failed and refused to pay the balance owed on
the units they have already received and sold to their customers, and have continued
to fail and refuse to take the remaining 3,840,000 units that are sitting in Art
Naturals’ warehouse.

5

COMPLAINT

Case ?:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page 6of11 Page ID #:57

1 32. The remaining 3,840,000 units of hand sanitizer, more than half of the

2 fforder, are still sitting in Art Naturals’ warehouse accruing substantial storage costs
3 || monthly.
4 || The 8-Ply Disposable Mask Order

5 33. In March 2020, Defendants ordered over 10,000,000 units of masks from
6 || Art Naturals.

7 34. During the month of April 2020, Art Naturals shipped the orders to
8 || Defendants.

9 35. Defendants paid for the masks that were shipped,
10 36. On April 17, 2020, Odzer verbally ordered 20,000,000 units of 3-Ply

11 || Disposable Masks from Art Naturals and issued a Purchase Order for 10,000,000 masks
12 ||at a price of sixty-three cents per mask.

13 37. The total purchase order value was $12,600,000 (20,000,000 times $0.63).

14 38. When Art Naturals received the order from BT, Art Naturals sourced and
15 || paid for the full order of 20,000,000 masks.

16 39. Based on Defendants’ request and immediate need for the order to be
17 || fulfilled, Art Naturals paid a substantial amount extra for the entire order of 20,000,000
18 || masks to be delivered by air so Defendants could get the order as quickly as possible.
19 40. After receiving the masks, Mr, Elefant informed Odzer that the masks had
99 || arrived and were ready to be shipped to BT.

21 41.  Odzer requested additional time in which to make room in his warehouse
99 || for the masks.

93 42, Every time Mr. Elefant asked Odzer when Art Naturals can start sending
24 trucks to BT’s warehouses, Odzer pushed Mr. Elefant off, each time requesting
25 additional time before Art Naturals shipped the goods.

26 43. During this period, while BT and Odzer refused to take the hand sanitizers
97 and masks they ordered from Art Naturals, the price of masks dropped dramatically.

28

6
COMPLAINT

Case 2:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page 7 of11 Page ID #:58

e

44. Thereafter, Art Naturals agreed to reduce the price of the masks, but BT
and Odzer kept pushing Mr. Elefant off and continued to make excuses why BT and
Odzer could not take the masks they purchased from Art Naturals at that moment.

45. In her June 25, 2020 referenced above, Ms. Gooding ends the email by

stating that after the invoices for the 15 truckloads of hand sanitizer were reconciled,
“we will work on the masks,” however, BT and Odzer have not worked on the
46. IfOdzer had been honest and stated they would not take the masks earlier,

then Art Naturals could have sold the masks to another customer.

Oo fF HN DO oO Fe BD WD

47. The entire order of 20,000,000 masks is sitting in Art Naturals’ warehouse,
ready to ship, and accruing monthly storage fees.

FIRST CAUSE OF ACTION

pet et
eS ©

(Breach of Written Contract)

—
BD

(By Art Naturals Against BT, Odzer, and Does 1 to 10)

oO

48. Art Naturals incorporates by reference and re-alleges each and every one

e
i

of the allegations in paragraphs 1 through 43 as if fully set forth herein.

e
or

49. Art Naturals and BT entered into written contracts for the sale and

rm
a

purchase of 5,000,000 hand sanitizers and 20,000,000 3-ply disposable face masks.

pet
—]

50. Art Naturals performed all its obligations (shipped BT over 1,000,000

—_
oo

hand sanitizers, has the rest of the hand sanitizers in its warehouse ready to ship, and

_
os

has 20,000,000 3-ply disposable face masks available to ship).

bo
Qo

51. Todate, BT and Odzer have failed to pay Art Naturals One Million Four

BS
—

Hundred Twenty-Two Thousand and Six Hundred Dollars ($1,422,600) they owe for

bo
bho

hand sanitizers that Art Naturals sent them and they sold, they have refused to take

bo
w

the 3,840,000 remaining units in the hand sanitizer order, and have refused to take

bS
=

any of the 20,000,000 masks they ordered from Art Naturals.

to
on

52. Asa direct and proximate result of BT and Odzer’s breach of their

bo
oo

agreements with Art Naturals, Art Naturals has sustained damages of at least

Nw UN
co =~]

7
COMPLAINT

Case 2:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page 8of11 Page ID #:59

—

$23,238,600, together with prejudgment interest at the legal rate pursuant to Civil
Code § 3287.
SECOND CAUSE OF ACTION

(Breach of Oral Contract)
(By Art Naturals Against BT, Odzer, and Does 1 to 10)
53. Art Naturals incorporates by reference and re-alleges each and every one
of the allegations in paragraphs 1 through 52 as if fully set forth herein.

54, In the alternative, should the invoice not amount to a written contract,

oOo fF SN fO oO > WB NM

Art Naturals and BT entered into oral contracts for the sale and purchase of 5,000,000

hand sanitizers and 20,000,000 3-ply disposable face masks.

jus ah
— ©

55. Art Naturals performed all its obligations (shipped BT over 1,000,000

hand sanitizers, has the rest of the hand sanitizers in its warehouse ready to ship, and

_
bs

has 20,000,000 3-ply disposable face masks available to ship).

a

56. Todate, BT and Odzer have failed to pay Art Naturals One Million Four

_
he

Hundred Twenty-Two Thousand and Six Hundred Dollars ($1,422,600) they owe for

ee
a

hand sanitizers that Art Naturals sent them and they sold, they have refused to take

he
a

the 3,840,000 remaining units in the hand sanitizer order, and have refused to take

ee
~J]

any of the 20,000,000 masks they ordered from Art Naturals.

4
oo

57. Asa direct and proximate result of BT and Odzer’s breach of their

rent
©

agreements with Art Naturals, Art Naturals has sustained damages of at least

bo
o

$23,238,600, together with prejudgment interest at the legal rate pursuant to Civil
Code § 3287.

rm bh
NO oe

THIRD CAUSE OF ACTION

BS
ws

(False Promise)

he
pe

(By Art Naturals Against BT, Odzer, and Does I to 10)

ho
Or

58. Art Naturals incorporates by reference and re-alleges each and every one

bo
a

of the allegations in paragraphs 1 through 57 as if fully set forth herein.

bo Bb
Co

8
COMPLAINT

Case 2:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page 9of11 Page ID #60

_

59. Odzer made numerous promises to Art Naturals. Odzer promised to pay
for the hand sanitizers that were shipped to BT, promised to take the 3,840,000
remaining units of the hand sanitizer, and promised to pay for the 20,000,000 masks
he ordered.

60.  Odzer did not intend to fulfill the promises he made to Art Naturals to
pay the past due balance for the hand sanitizer, take the remaining balance of hand
sanitizer from the order, or take the 20,000,000 masks BT and Odzer ordered when he

made them, and Odzer intended that Art Naturals relied on his promises to bring in

Dm Mm nN DR OO Fe YS BD

the goods and ship Odzer and BT hand sanitizers.

61. Art Naturals did in fact rely upon Odzer’s promises, and Art Naturals

_
>

sourced and paid for the hand sanitizers and masks that BT and Odzer ordered.

_
_—

62. Odzer did not perform as promised.

eo
bo

638. Art Naturais was harmed as a result of BT and Odzer’s failure to perform

el
a

as they promised to do.

—
in

64, Art Naturals reliance upon BT and Odzer’s false promise was a

—_
on

substantial factor in causing the harm that Art Naturals suffered.

—
a

65. Asa direct and proximate result of BT and Odzer’s breach of their

~]

agreements with Art Naturals, Art Naturals has sustained damages of at least

ee
oe

$23,238,600, together with prejudgment interest at the legal rate pursuant to Civil
Code § 3287.

rm oe
o ©

66. The foregoing acts of BT, Odzer, and Does 1 to 10, were despicable and

bho
he

reprehensible, depriving Art Naturals of needed funds right as the pandemic was

nN
te

unfolding in the United States, and the acts were done willfully, fraudulently,

nN
ow

maliciously, and oppressively, with conscious disregard to the rights and well-being of

bo

Art Naturals, thus entitling Art Naturals to recover exemplary damages pursuant to

bo
ao

Code of Civil Procedure § 3294 in an amount sufficient to punish and make an

Bh
a

example of said defendants for their wrongful conduct, but in no event less than

523,238,600.

bo OW
co ~]

9
COMPLAINT

Case 2:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page 10o0f11 Page ID #:61

—

FOURTH CAUSE OF ACTION

(Conspiracy)
(By Art Naturals Against All Defendants)
67, Art Naturals incorporates by reference and re-alleges each and every one
of the allegations in paragraphs 1 through 66 as if fully set forth herein.
68. Onor about March 2020, the Individual Defendants, and each of them,

knowingly and willfully conspired and agreed among themselves to enter into an

agreement with Art Naturals for the purchase of large volumes of hand sanitizers and

om co NN SD Oo mem HH LM

masks to get the best price from Art Naturals, while in reality they had no intention of

paying for the full amount of units they ordered from Art Naturals, all while selling

_
Oo

Art Naturals’ hand sanitizer to their customers for a profit.

—_
pe

69, Pursuant to, and in furtherance of the conspiracy, Odzer repeatedly told

_
tS

Art Naturals that BT intended to fuifill its obligation to pay for the hand sanitizers

pare
co

and masks, all in an attempt to get more and more concessions from Art Naturals, and

_
ee

to get Art Naturals to continue shipping hand sanitizers and masks to BT.

oo

70. Defendants, and each of them, approved and ratified BT and Odzer’s

rt
a

actions because of the large profits each defendant stood to gain from the sale of the

ot
~]

hand sanitizers and masks.

—_
ce

71. Asa direct and proximate result of BT and Odzer’s breach of their

—
.

agreements with Art Naturals, Art Naturals has sustained damages of at least

ho
Oo

$23,238,600, together with prejudgment interest at the legal rate pursuant to Civil
Code § 8287

BS
—_

nN
bo

PRAYER FOR RELIEF

bo
w

WHEREFORE, plaintiff Virgin Scent, Inc. dba Art Naturals, a California

bo
oe

corporation, prays for judgment against Defendants, and each of them, as follows:

AS TO ALL CAUSES OF ACTION

we fb
Sy at

1. For general, compensatory, and consequential damages according to

NS
~I

proof;

bo
oO

10
COMPLAINT

Case 2:21-cv-00184-DMG-AS Document 1-1 Filed 01/08/21 Page11o0f11 Page ID #:62

1 2. For costs of suit herein;
2 3, For reasonable attorney’s fees; and
3 4. For such other and further relief as the court deems proper.
4 AS TO THE THIRD CAUSE OF ACTION
5 5. For punitive and exemplary damages as sufficient to set an example and
6 || to punish the defendants for their wrongful conduct.
7
8 || Dated: November 23, 2020 LAW OFFICE OF ARYEH KAUFMAN
9
10
1] By: he Hahn
12 Aryeh Kauftnan, sq.
Attorney for Plaintiff,
13 VIRGIN SCENT, INC. DBA
ART NATURALS
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

11
COMPLAINT

